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                         The Office of Ulysses T. Ware
                                        123 Linden Blvd., Ste 9-L
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                                             (718) 844-1260
                                         utware007@gmail.com                                J1- t+
                                   Date: March 26, 2025, 1:03:13 PM



Via U.S. Mail and Email to the Chambers of the Hon. Michael L. Brown

To: Office of the District Clerk
United States District Court
Northern District of Georgia
75 Ted Turner Drive, SW
Atlanta, GA 30303

Case Name: Ulysses T. Ware and Group Management v. Alpha Capital AG, et al.
Case No.: 1:25-cv-00613-MLB (NDGA)

Subject: URGENT REQUEST FOR IMMEDIATE FILING AND DOCKETING:
Appellants' and Appellees' Stipulation and Declaration of Lack of Article III Subject Matter
Jurisdiction (Standing) (17-14) (Part 17-14), for Kilpatrick, Townsend, & Stockton, LLP's
Predatory Unregistered Broker-Dealer Clients.

Dear Judge Brown and the Clerk of Court:

       Pursuant to 18 U.S .C. §§ 2071(a) and (b), please accept for immediate filing and
docketing in the above-referenced appellate proceeding (Case No. 1:25-cv-00613-MLB) the
attached document designated as (17-14) (Part 17-14), dated March 26, 2025, entitled:

        APPELLANTS'       AND    APPELLEES'    JOINT  STIPULATION   AND
        DECLARATION OF LACK OF ARTICLE III SUBJECT MATTER
        JURISDICTION (STANDING) REGARDING APPELLEES KTS' PREDATORY
        UNREGISTERED BROKER-DEALER CLIENTS AND NOTICE PURSUANT TO
        RULE ll(b)(l-4), 28 USC§ 1927, AND JUDGE BROWN'S STANDING ORDER
        ~-
        This critical Declaration sets forth twenty-four (24) specific factual predicates, supported
by the Joint Stipulated Appellate Record and binding judicial admissions, conclusively
establishing the absence of Article III subject matter jurisdiction (standing) regarding Appellees'
participation in this appeal and related proceedings. Furthermore, the Declaration serves as


Page 1 of 13
Wednesday, March 26, 2025
(17-14) (Part 17-14) re: The Parties' Joint Declaration of Lack of Article Ill Subject Matter Jurisdiction
(Standing) of KTS' Predatory Loan Sharking Unregistered Broker-Dealer Clients.
         Case 1:25-cv-00613-MLB                Document 19-1           Filed 03/31/25         Page 2 of 3




   Appellants' formal notice to Appellees pursuant to Fed. R. Civ. P. 11, 28 U.S.C. § 1927, and Judge
   Brown's Standing Order ,iM, demanding a sworn response under penalty of perjury by 1 :00 PM
   Eastern Time today, March· 26, 2025.

           Given the extremely time-sensitive deadline imposed within the Declaration for Appellees'
   response, Appellants respectfully request that this document (17-14) be filed and docketed
   immediately upon receipt to ensure proper notice and effect. Prompt docketing is crucial for the
   integrity and procedural administration of this matter.

   Thank you for your immediate attention to this urgent request.

A ~ctfully subm~
  { ; ~ ~Tq\/are
c.--                       ~
   Ulysses T. Ware
   Attorney in Fact for Appellants Ulysses T. Ware and Group Management



                Declaration of Filing and Service Pursuant to 18 U.S.C. § 2071(a), (b)

   I, Ulysses T. Ware, attorney -in fact for the Appellants, hereby declare under penalty of perjury
   pursuant to 28 U.S .C. § 1746, that the foregoing memorandum and the attached Declaration (17-
   14) (Part 17-14) constitute a judicial pleading submitted to the Office of the District Clerk's
   possession for filing and docketing in Case No. 1:25-cv-00613-MLB, on this 26th day of March,
   2025 ; and all Appellees, and their legal counsels of record have been served on March 26, 2025,
   with a copy of the foregoing (17-14) (Part 17-14).


   /s/ Ulysses T. Ware

   Ulysses T. Ware, attorney in fact for the Appellants




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   Wednesday, March 26, 2025
   (17-14) (Part 17-14) re: The Parties' Joint Declaration of Lack of Article Ill Subject Matter Jurisdiction
   (Standing) of KTS' Predatory Loan Sharking Unregistered Broker-Dealer Clients.
       Case 1:25-cv-00613-MLB                Document 19-1           Filed 03/31/25         Page 3 of 3




                              (17-14) (Part 17-14)
                          Case No. 1:25-cv-00613-MLB
                                           3/26/2025 1:03:13 PM

                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

Ulysses T. Ware and d/b/a Group Management (a sole proprietorship),
Appellants,

v.

Alpha Capital AG, et al., Predatory Unregistered Broker-Dealers,
Appellees.

(On Appeal from In re Group Management Corp., Case No. 03-93031 (BC NDGA), Chapter
11)



[Docket Text]: APPELLANTS' AND APPELLEES' JOINT STIPULATION AND
DECLARATION OF LACK OF ARTICLE III SUBJECT MATTER JURISDICTION
(STANDING) REGARDING APPELLEES KTS' PREDATORY UNREGISTERED
BROKER-DEALER CLIENTS AND NOTICE PURSUANT TO RULE ll(b)(l-4), 28 USC
§ 1927, AND JUDGE BROWN'S STANDING ORDER~-

Respectfully submitted this 26 th day of March 2025.

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Ulys;J T. Ware
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Attorney in Fact for Appellants




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 Wednesday, March 26, 2025
 (17-14} (Part 17-14} re: The Parties' Joint Declaration of Lack of Article Ill Subject Matter Jurisdiction
 (Standing) of KTS' Predatory Loan Sharking Unregistered Broker-Dealer Clients.
